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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  MARK JORDAN,                        )
      Plaintiff,                      )
                                      )
        v.                            )               Civil Number 07-CV-2303
                                      )
                                      )
  DEPARTMENT OF JUSTICE,              )
                                      )
        Defendant                     )
  ____________________________________)

                           DECLARATION OF RICHARD WINTER

  I, Richard Winter, do hereby declare and state as follows:

  1.     I am the Deputy Regional Counsel for the North Central Region (NCR) of the United States

         Bureau of Prisons (BOP), located in Kansas City, Kansas. I have been employed as an

         attorney by the BOP since August 1995.

  2.      The statements I make hereinafter are made on the basis of my review of the official files

         and records of the Bureau of Prisons, my own personal knowledge, or on the basis of

         information acquired by me through the performance of my official duties. Due to the

         nature of my official duties, I am familiar with the procedures followed by this office in

         responding to the four FOIA/PA requests made by the above-captioned plaintiff, Mark

         Jordan, Register Number 48374-066, which were processed by the NCR and are at issue in

         this lawsuit.




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  CLAIM ONE:

  CHRONOLOGY

  3.    On March 19, 2007, the NCR received FOIA Request #07-4419 from the Plaintiff.

  4.    In FOIA Request #07-4419, the Plaintiff requested, “copies of all documents and records

        relating to disciplinary proceedings against me subject of Incident Report No. 1231308.

        Incident Report No. 1231308, and the resulting disciplinary proceedings, involved charges

        of Killing Another Person and Possession of a Weapon.

  5.    On March 20, 2007, the NCR sent a letter to the Plaintiff acknowledging receipt of his FOIA

        request.

  6.    On April 10, 2007, the NCR responded to FOIA Request #07-4419 via a letter to the Plaintiff

        indicating that it was determined a portion of the records were releasable to him.

        Specifically, the letter indicated that sixty-eight (68) pages of records were releasable in full

        to the Plaintiff. In addition, five (5) pages of records were created by the Federal Bureau of

        Investigation (FBI) and are under their control. Pursuant to section 552(a)(6)(B)(iii) of the

        FOIA, the request and the 5 pages of records were forwarded to the FBI. The letter further

        indicated that the remaining three (3) pages were not releasable.

  7.    The response letter cited to sections 552(b)(2), (b)(7)(C), (b)(7)(E) and (b)(7)(F) as the bases

        for withholding the three pages.

  8.    Also on April 10, 2007, a memo was sent to the Plaintiff’s institution providing staff with

        the sixty-nine (69) pages of releasable documents, with nine (9) of those pages containing

        redactions. The plaintiff was able to review these pages on June 18, 2007.

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  9.    On April 10, 2007, the five pages of FBI records were referred to that agency.

  10.   On June 8, 2007, OIP received the plaintiff’s appeal of the agency’s response to FOIA #07-

        4419.

  11.   OIP acknowledged receipt of the Plaintiff’s appeal on June 8, 2007, and assigned it Appeal

        #07-1701.

  12.   On January 25, 2008, OIP affirmed the BOP’s action on FOIA Request #07-4419.

  ADEQUACY OF THE SEARCH

  13.   Upon receipt of plaintiff’s FOIA request # 07-4419, a search to determine the location of any

        and all documents relating to plaintiff’s request was undertaken in order to comply with his

        FOIA request.

  14.   The agency determined the responsive document was the Disciplinary Hearing Officer packet

        for the incident, which was 77 pages in length.

                JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                              EXEMPTION 5 U.S.C. § 552(b)(7)(C)

  15.   Title 5, United States Code, Section 552(b)(7)(C) (hereinafter Exemption 7(C)) protects

        from mandatory disclosure records or information compiled for law enforcement

        purposes to the extent that disclosure “could reasonably be expected to constitute an

        unwarranted invasion of personal privacy...” 5 U.S.C. § 552 (b)(7)(C).

  16.   In this case, Exemption 7(C) of the FOIA was asserted to protect the identity of third-

        party individuals, the release of which could subject them to an unwarranted invasion of

        personal privacy. Release of the information could subject them to unanticipated, and

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        unwanted injury to their reputation. Specifically, the names of the individuals requested

        as witnesses was redacted, along with a few handwritten words along side the name

        which contained identifying information. The statement of the information that particular

        proposed witness would provide was not redacted. Only the name and few words next to

        the name, for example noting the individual’s release date, were redacted. In addition,

        exemption 7(C) was applied to redact the names of witnesses from the DHO Report and a

        staff memo indicating the proposed witnesses. Although the plaintiff himself would have

        received this information as part of his due process for his disciplinary proceedings, these

        names were determined not releasable under FOIA, as the privacy of the named

        individuals outweighs any public interest in that information.

  17.   The BOP determined that there was no public interest in the release of the names of the

        particular individuals, nor any interest which would counterbalance the individual’s

        privacy in having the information withheld under Exemption 7(C).

             JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                              EXEMPTION 5 U.S.C. § 552(b)(7)(E)

  18.   Exemption (b)(7)(E) is applied to prevent disclosure of information compiled for law

        enforcement purposes when release “would disclose techniques and procedures for law

        enforcement investigations or prosecutions, or would disclose guidelines for law

        enforcement investigations or prosecutions if such disclosure could reasonably be

        expected to risk circumvention of the law.” 5 U.S.C. § 552(b)(7)(E).

  19.   This exemption was applied to a page which included three still frames from a video

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        surveillance camera which views the area in which the murder took place. These photos

        are not releasable because they show the parameters and capabilities of the cameras, such

        that an individual could then commit an act without detection, knowing which areas the

        camera cannot view.

                JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                              EXEMPTION 5 U.S.C. § 552(b)(7)(F)

  20.   Exemption (b)(7)(F) provides for the withholding of information or records compiled for

        law enforcement purposes the release of which could endanger the life or physical safety

        of any individual. This exemption was applied to a few words contained within a list of

        proposed witnesses which identified a prison security threat group (commonly referred to

        as a “gang.”). The name of the prison gang was redacted because it could reasonably be

        expected to cause disruption and potential physical assaults to reveal that one inmate was

        alleging a particular gang was responsible for the murder. Accordingly, it was

        determined exemption (b)(7)(F) should be applied to redact the name of the particular

        gang.

  21.   Similarly, within another section of the same document, it is noted that one of the

        proposed witnesses is a member of another gang. It was determined this information

        should be redacted pursuant to 7(C) to protect that individual’s privacy, as well as 7(F), as

        the release of such information may cause physical harm to that individual or others.




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  CLAIM TWO:

  CHRONOLOGY

  22.   On May 15, 2006, the NCR received FOIA Request #06-6431 from the plaintiff.

  23.   In FOIA Request 06-6431, the plaintiff requested, “a complete list of staff names and

        titles for all staff at the United States Penitentiary - Administrative Maximum at Florence,

        Colorado.”

  24.   On May 23, 2006, the NCR sent a letter to the plaintiff acknowledging receipt of his

        FOIA request.

  25.   On July 14, 2006, the NCR responded to FOIA Request #06-6431 via a letter indicating

        the staff roster was not releaseable, and cited FOIA Exemption (b)(7)(F). Specifically,

        the letter indicates that releasing the roster of staff names could reasonably be expected to

        endanger the life or physical safety of any individual.

  26.   On August 9, 2006, the Office of Information and Privacy (OIP) received an appeal of

        this response from the plaintiff.

  27.   On August 11, 2006, OIP acknowledged receipt of the plaintiff’s appeal and assigned it

        FOIA Appeal #06-2753.

  ADEQUACY OF THE SEARCH

  28.   Upon receipt of plaintiff’s FOIA request # 06-6431, a search to determine the location of

        any and all documents relating to plaintiff’s request was undertaken in order to comply

        with his FOIA request.

  29.   The agency determined the only responsive document was the staff roster for the

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        Administrative Maximum Security Penitentiary in Florence, Colorado (“ADX Florence”).

         The staff roster is 6 (six) pages in length.

              JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                               EXEMPTION 5 U.S.C. § 552(b)(7)(F)

  30.   Exemption (b)(7)(F) provides for the withholding of information or records compiled for

        law enforcement purposes the release of which could endanger the life or physical safety

        of any individual. The material which the BOP has withheld pursuant to Exemption 7(F)

        in this FOIA request could harm the safety and security of the institution because it would

        provide an individual with an easy means to intimidate and manipulate staff. These

        staffing rosters are compiled to aid the agency in fulfillment of its law enforcement

        mission, and disclosure would reasonably be expected to endanger the life or physical

        safety of staff by providing the information which would allow anyone to threaten,

        manipulate, or harm them. Based upon this concern, the agency has determined that staff

        rosters for security level institutions of medium, high, and administrative institutions

        should be withheld pursuant to Exemption (b)(7)(F).

  31.   ADX Florence is an administrative security level institution, and it is the single most

        secure prison in the federal system. It is designed to house inmates who require an

        uncommon level of security. Unique security and control procedures have been

        implemented at ADX Florence to enhance the safety of staff, inmates, and visitors.

  32.   Accordingly, the agency has determined there would be a risk to staff safety to release a

        full roster of staff names and titles of this security level institution.

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  CLAIM THREE:

  CHRONOLOGY

  33.   On November 28, 2005, the NCR received FOIA request #2006-1739 from the plaintiff.

  34.   In FOIA request #2006-1739, the plaintiff sought “all documents in any and all Bureau

        psychological and psychiatric files relating to myself and promulgated or dated January 1,

        2004 through to the date of this request.”

  35.   On November 28, 2005, NCR staff sent a letter to the plaintiff notifying him of our

        receipt of his FOIA request.

  36.   The BOP responded to request #2006-1739 on January 27, 2006, via a letter indicating

        the releaseable records were mailed to the facility of his confinement with instructions

        that the documents be provided to him. In addition, the plaintiff was notified that a

        portion of the records were redacted pursuant to FOIA exemptions. The letter also

        informed the plaintiff to appeal the BOP’s decision to OIP if he was dissatisfied. The

        address of OIP was provided in the letter.

  37.   On February 21, 2006, OIP received an appeal of FOIA #2006-1739 from the plaintiff.

  38.   On March 3, 2006, OIP sent a letter to the plaintiff notifying him of their receipt of his

        appeal.

  39.   On April 28, 2006, the NCR received correspondence from the plaintiff in which he

        stated that he had not received a response to FOIA #2006-1739.

  40.   On May 15, 2006, NCR staff responded to the plaintiff via letter indicating our records

        indicated that he had signed for receipt of the records on February 8, 2006.

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  41.   On October 30, 2006, OIP responded to the plaintiff by affirming BOP’s action on FOIA

        request #2006-1739.

  ADEQUACY OF THE SEARCH

  42.   Upon receipt of plaintiff’s FOIA request # 06-1739, a search to determine the location of

        any and all documents relating to plaintiff’s request was undertaken in order to comply

        with his FOIA request. The BOP’s computerized database of psychology records, called

        the Psychology Database System (“PDS”), was searched. This database is searchable by

        inmate register number and would allow the person searching to print records from a

        specific time period. The requested records were obtained by searching the computerized

        PDS and they were reviewed by NCR staff. The NCR processed these documents,

        releasing 36 pages, two of which had redactions pursuant to exemptions (b)(2), (b)(7)(c),

        (b)(5), (b)(7)(E), and (B)(7)(F).

              JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                                EXEMPTION 5 U.S.C. § 552(b)(2)

  43.   Exemption 2 exempts from mandatory disclosure records “related solely to the internal

        personnel rules and practices of an agency.” 5 U.S.C. § 552(b)(2).

  44.   Exemption (b)(2) was applied to redact one paragraph of the Psychology Data System

        notes in which the writer includes the subjective perception of another staff member and

        advises all staff regarding appropriate actions to take with regard to the plaintiff in the

        future. This portion of the document is solely related to the internal practices of agency

        staff, and release of this information may allow the plaintiff greater ability to circumvent

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        agency regulations.

  CLAIM FOUR:

  CHRONOLOGY

  45.   On May 15, 2006, the BOP received FOIA request #06-6428 from the plaintiff.

  46.   In this request, the plaintiff sought “a copy of all mail matter that was sent to or from my

        person, Mark Jordan, and copied by staff at the ADX Florence (otherwise known as the

        United States Penitentiary - Administrative Maximum).”

  47.   On May 23, 2006, NCR sent a letter to the plaintiff acknowledging receipt of his FOIA

        request.

  48.   On August 10, 2006, NCR staff responded to the plaintiff’s FOIA request via letter,

        informing him that the Special Investigative Supervisor’s File (SIS file) had been

        reviewed and it was determined the file was not releaseable to him. Exemptions (b)(2),

        (b)(7)(E), and (b)(7)(F) were cited in the response letter.

  49.   On September 8, 2006, OIP received an appeal of the BOP’s response to FOIA #06-6428

        from the plaintiff.

  50.   On September 18, 2006, OIP sent a letter to the plaintiff acknowledging receipt of his

        appeal.

  51.   On November 16, 2006, OIP responded to the plaintiff’s appeal via letter, upholding the

        BOP’s action with regard to FOIA #06-6428. BOP’s use of exemptions (b)(2) and

        (b)(7)(E) were upheld by OIP.




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  ADEQUACY OF THE SEARCH

  52.   Upon receipt of plaintiff’s FOIA request # 06-6428, a search to determine the location of

        any and all documents relating to plaintiff’s request was undertaken in order to comply

        with his FOIA request. Staff from the Special Investigative Supervisor’s Office (SIS

        Office) at ADX Florence maintain files on various matters which required closer review.

        The SIS file at ADX Florence was located and reviewed. The NCR processed these

        documents and determined the entire contents of the file, 495 pages, could not be

        disclosed pursuant to exemptions (b)(2), (b)(7)(E), and (B)(7)(F).

             JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                               EXEMPTION 5 U.S.C. § 552(b)(2)

  53.   Exemption 2 exempts from mandatory disclosure records “related solely to the internal

        personnel rules and practices of an agency.” 5 U.S.C. § 552(b)(2).

  54.   Not all of the plaintiff’s mail was photocopied and maintained by the SIS office. Only

        certain items, determined to be significant by SIS staff, were photocopied and maintained.

        To provide the plaintiff with the items of incoming and outgoing mail contained within

        the file, would show the types of correspondence and the specific correspondence which

        staff determined would be useful to maintain and review. Maintaining SIS files of certain

        investigations regarding certain inmates are solely internal agency matters, the release of

        which would allow the inmate to circumvent the agency’s internal policies.




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             JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                              EXEMPTION 5 U.S.C. § 552(b)(7)(E)

  55.   Exemption (b)(7)(E) is applied to prevent disclosure of information compiled for law

        enforcement purposes when release “would disclose techniques and procedures for law

        enforcement investigations or prosecutions, or would disclose guidelines for law

        enforcement investigations or prosecutions if such disclosure could reasonably be

        expected to risk circumvention of the law.” 5 U.S.C. § 552(b)(7)(E).

  56.   The Special Investigative Supervisor’s Office (SIS Office) investigates potential

        violations of Bureau regulations and policies, including monitoring the inmate population

        and security threat groups, and investigates potential violations of federal criminal law

        within the institution, for example, drug use, assaults, escape attempts, etc. The SIS

        Office maintains various files of information gathered for law enforcement purposes and

        the files may be utilized with regard to the investigation for which they were gathered, or

        possibly as collateral information that may be useful in another law enforcement

        investigation.

  57.   With respect to the letters which were sent to or from the plaintiff and copied and

        maintained by SIS staff, only certain items of correspondence were maintained. The

        technique and procedure for determining which items were of interest and, therefore,

        should be maintained should not be released to the inmate population. To provide such

        documents would provide the inmates with the ability to determine which items staff

        were perceiving as critical and of investigative value, would allow inmates the ability to

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        thereby circumvent staff’s efforts.

  CLAIM FIVE:

  58.   The Plaintiff’s Claim Five involves a request which was sent to the Executive Office for

        United States Attorneys (EOUSA) and I have no information regarding the processing of

        this request as it did not involve the NCR.

  CLAIM SIX:

  CHRONOLOGY

  59.   On January 11, 2007, the NCR received FOIA request #2207-2578 from the plaintiff.

  60.   In FOIA request #2007-2578, the plaintiff requested “a copy of all telephone records,

        including electronic transcripts of all digital recordings, for all telephone calls placed by

        my person while incarcerated at the FCI Englewood between May 1, 2004 and April 15,

        2006.”

  61.   On January 17, 2007, NCR staff sent a letter to the plaintiff notifying him of our receipt

        of his FOIA request.

  62.   The BOP responded to FOIA request #07-2578 on January 31, 2007, via letter indicating

        that no responsive records could be located. Specifically, the letter advised him, “Due to

        passage of time, and in accordance with Bureau policy, such recordings are deleted from

        the database.”

  63.   On March 23, 2007, OIP received the plaintiff’s appeal of the BOP’s response to FOIA

        request #07-2578.

  64.   On April 6, 2007, OIP acknowledged receipt of the plaintiff’s appeal via letter.

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  65.   On June 25, 2007, OIP responded to the plaintiff’s appeal, upholding the agency’s action

        on FOIA request #2007-2578. Specifically, the OIP response letter stated: “I have

        determined that BOP’s response was correct and that it conducted an adequate,

        reasonable search for responsive records.” The letter also indicated the applicable

        Federal Register section requires audiotapes and digital recordings to be maintained for a

        period of six months.

  66.   As agency counsel was reviewing the administrative file for FOIA #2007-2578 in

        preparation for this lawsuit, it was determined that the plaintiff’s request arguably sought

        more than the audio recordings of his phone calls, but could also be read to request a

        printout of the transactional data for his phone calls placed during the requested time

        frame. Accordingly, on April 3, 2008, a supplemental release was provided to the

        plaintiff.

  67.   One page of responsive documentation was located and it was provided in full to the

        plaintiff.

  ADEQUACY OF THE SEARCH

  68.   Upon receipt of plaintiff’s FOIA request # 07-2578, a search to determine the location of

        any and all documents relating to plaintiff’s request was undertaken in order to comply

        with his FOIA request. BOP Audiotapes and digital recordings are maintained ordinarily

        for six months from the date created, at which time they are overwritten with new data.

        See 71 Fed. Reg. 9606 (February 24, 2006). SIS staff at ADX Florence searched the

        telephone database with negative results. The plaintiff sought calls placed between May

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        1, 2004, and April 15, 2006. His request was received by the NCR on January 11, 2007.

        Accordingly, the audio recordings were no longer maintained pursuant to normal

        retention policies. As noted above, upon a more careful examination of the plaintiff’s

        request, it was determined the printout of transactional data (date of call, time of call,

        phone number called, and duration of call) would also be considered responsive to the

        request. Accordingly, the requested transactional data was retrieved from the BOP’s

        TruFone system by SIS staff who selected the Reports tab within the TruFone System,

        then the ITS2 Reports tab, then “ITS2 Telephone Accounts Statement” tab. At that

        point, SIS staff entered the requestor’s register number, and the start and stop dates

        requested. The resulting printout was reviewed and processed by NCR staff. The one

        page printout was provided in full to the plaintiff.

  CLAIM SEVEN:

  CHRONOLOGY

  69.   On October 19, 2005, the NCR received FOIA request #2006-0513 from the plaintiff.

  70.   In FOIA request #2006-0513, the plaintiff requested “all documents pertaining to all

        claims filed by my person since January 1, 1999 (to present) with/against the Federal

        Bureau of Prisons (North Central Region and Central offices) pursuant to the Federal Tort

        Claims Act, including but not limited to, the claims filed, any attachments, exhibits,

        supplements or amendments thereto, and any records adjudication and disposition.”

  71.   On October 19, 2005, NCR staff sent a letter to the plaintiff notifying him of our receipt

        of his FOIA request.

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  72.   The BOP responded to request #2006-0513 on December 15, 2005, via a letter indicating

        the releasable records were provided to the facility of his confinement with instructions

        that they be provided to him. In addition, the plaintiff was notified that 38 pages were not

        releasable. The letter also informed the plaintiff to appeal the BOP’s decision to the

        Office of Information and Privacy (OIP) if he was dissatisfied. The address of OIP was

        provided in the letter.

  73.   On January 5, 2006, the plaintiff appealed the BOP’s response to the OIP.

  74.   On December 5, 2007, OIP responded to the plaintiff’s appeal, informing him the request

        would be remanded to the BOP for further processing of the responsive records.

  75.   On April 23, 2008, the BOP provided a supplemental response to FOIA request #2006-

        0513. Specifically, the BOP determined the 38 pages of records could be released to the

        plaintiff, subject to some redactions.

  ADEQUACY OF THE SEARCH

  76.   Upon receipt of plaintiff’s FOIA request # 06-0513, a search to determine the location of

        any and all documents relating to plaintiff’s request was undertaken in order to comply

        with his FOIA request. The BOP’s tort claim database was searched and the three

        responsive tort claims were obtained. The Bureau’s computerized tort claim database is

        a nationwide database which includes any and all administrative tort claims filed with the

        Bureau of Prisons. NCR staff entered the requestor’s name, Mark Jordan, into the

        database and received a chronological list of any and all tort claims filed by Mark Jordan.

        The resulting list showed three claims, listed in chronological order. Each claim has an

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        assigned claim number and hard copy files are maintained in a file room in the NCR with

        all files in cabinets ordered by number. The tort claim files are maintained by fiscal year

        number, and then within that section, they are maintained by tort claim number assigned.

        The files for the three claim numbers filed by Mark Jordan were pulled from the file room

        and these three files were copied in full for processing. The NCR processed these

        documents, releasing 174 pages in full, and withholding 38 pages pursuant to exemptions

        (b)(2), (b)(7)(c), (b)(5), (b)(7)(E), and (b)(7)(F).

              JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                                 EXEMPTION 5 U.S.C. § 552(b)(2)

  77.   Exemption 2 exempts from mandatory disclosure records “related solely to the internal

        personnel rules and practices of an agency.” 5 U.S.C. § 552(b)(2).

  78.   Exemption “high” (b)(2) was applied to portions of the Daily Assignment Rosters

        because to allow the public with access to the institution’s staffing patterns (which posts

        are filled on which days and times) could impede the effectiveness of the agency to fulfill

        its mission to securely house offenders. Disclosure of staffing patterns may assist in

        escape efforts, facilitate disturbances, or cause harm to staff.

  79.   Exemption “high” (b)(2) was also applied to portions of the Lieutenant’s Log which

        showed the types of security checks conducted at various points throughout the day.

        These are internal BOP procedures undertaken by BOP staff to ensure the safety and

        security of staff, inmates, and the public. Disclosure of information about these security

        measure to the public, including this inmate-requestor, risks circumvention of the security

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        procedures. Disclosure of the types of tests conducted and at what times of day they are

        conducted would provide a greater ability to circumvent those security measures.

  80.   Exemption “high” (b)(2) was applied to redact the locations of area searches at various

        dates and times from institution log book pages. Disclosure of this information would

        allow for the ability to circumvent the search procedures by providing the schedule and

        order in which these searches are undertaken. Disclosure of this information would allow

        a person to conceal contraband if he or she knew the dates and times various areas were

        searched by staff.

  81.   Exemption “low” (b)(2) was applied to redact the numbers listed for each inmate base

        count taken in each of the various housing units. The inmate counts are related solely to

        the internal practices of the agency, release of which would have no significant public

        benefit.

              JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                                EXEMPTION 5 U.S.C. § 552(b)(5)

  82.   Exemption 5 protects “inter-agency or intra-agency memorandums or letters which would

        not be available by law to a party. . . in litigation with the agency.” In other words, this

        exemption protects documents normally privileged in the civil discovery context.

  83.   Accordingly, certain responsive documents were redacted pursuant to Exemption (b)(5)

        as they would be protected from discovery by the Attorney-Client and Attorney Work

        Product privileges. Specifically, portions of several intra-agency memos created at the

        direction of the Regional Counsel and the institution attorney in response to

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        administrative tort claims were redacted.

  84.   The Attorney Work Product privilege applies even if litigation has not yet commenced, so

        long as specific claims have been identified which make litigation possible. With regard

        to these documents, they were all prepared following the receipt of a properly submitted

        Administrative Tort Claim seeking damages for alleged BOP negligence. Accordingly,

        the Attorney Work Product privilege applies to the redacted portions of these documents.

  85.   Exemption (b)(5) was applied to redact portions of a memo from the institution’s

        Supervisory Attorney to an Associate Warden at the institution, in which the attorney

        requested the Associate Warden’s assistance in investigating the administrative tort

        claim. More specifically, the redacted portion is the list of items the attorney requested

        be gathered to aid in her analysis of the tort claim. This information is protected under

        the Attorney Work Product privilege because it reflects her opinion about which items are

        important in analyzing the claim.

  86.   In addition, exemption (b)(5) was applied to redact portions of a memo from a BOP

        paralegal which analyze the property receipt records involved in the administrative tort

        claim. Specifically, the paralegal’s subjective opinion of the facts developed during the

        investigation of the tort claim, the paralegal’s conclusion as to whether or not evidence of

        negligence could be seen in the facts, and the paralegal’s analysis and recommendation as

        to how to proceed on the administrative tort claim were redacted.

  87.   Exemption (b)(5) was also applied to redact a two-sentence recommendation from the

        institution Supervisory Attorney to the BOP’s North Central Regional Counsel, indicating

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        her thoughts on whether or not to offer a settlement in response to the administrative

        claim.

  88.   Exemption (b)(5) was also applied to redact several sentences containing the subjective

        opinion of a legal intern informing the Assistant Regional Counsel of her analysis of the

        merits and weaknesses of the tort claim. In addition, a sentence containing her

        recommendation to the Assistant Regional Counsel regarding how to proceed on the tort

        claim (settle or deny) was redacted.

  89.   Exemption (b)(5) was also applied to redact a portion of a memo contained within the

        administrative tort claim file which was written by a BOP paralegal. The redacted

        portion includes the paralegal’s opinion regarding staff actions, as well as her conclusion

        regarding how to proceed on the administrative tort claim.

  90.   Exemption (b)(5) was also applied to redact one sentence from a memo written by a BOP

        Lieutenant to the institution Supervisory Attorney regarding the administrative tort claim.

        The redacted sentence is the Lieutenant’s opinion expressed to the attorney

        recommending action to be taken on the claim (settle or deny).

  91.   Exemption (b)(5) was also applied to redact a one sentence recommendation contained

        within a memo written by BOP Lieutenant to the institution Supervisory Attorney. The

        memo was contained within the administrative tort claim file and states the Lieutenant’s

        recommendation to the attorney regarding action to be taken on the claim.




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              JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                              EXEMPTION 5 U.S.C. § 552(b)(7)(F)

  92.   Exemption (b)(7)(F) provides for the withholding of information or records compiled for

        law enforcement purposes the release of which could endanger the life or physical safety

        of any individual. The material which the BOP has withheld pursuant to Exemption 7(F)

        in this FOIA request could harm the safety and security of the institution because it would

        provide the public with the institution’s staffing levels, including the days and times that

        certain posts are staffed. These staffing rosters are compiled to aid the agency in

        fulfillment of its law enforcement mission, and disclosure would reasonably be expected

        to endanger the life or physical safety of staff or inmates within the institution by

        compromising the security of the institution.

  93.   Exemption (b)(7)(F) was also applied to withhold portions of the Log Book pages.

        Specifically, the names of two inmates who were released from the housing unit for

        urinalysis were redacted. Disclosure of this information to other inmates may risk the

        safety of the inmates involved, as it is possible that the urinalysis was part of a larger

        investigation.

              JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                              EXEMPTION 5 U.S.C. § 552(b)(7)(C)

  94.   Title 5, United States Code, Section 552(b)(7)(C) (hereinafter Exemption 7(C)) protects

        from mandatory disclosure records or information compiled for law enforcement

        purposes to the extent that disclosure “could reasonably be expected to constitute an

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        unwarranted invasion of personal privacy...” 5 U.S.C. § 552 (b)(7)(C).

  95.   In this case, Exemption 7(C) of the FOIA was asserted to protect the identity of third-

        party individuals, the release of which could subject them to an unwarranted invasion of

        personal privacy. Release of the information could subject them to unanticipated, and

        unwanted injury to their reputation. Specifically, the names of individual staff members

        were redacted from the Daily Assignment Rosters because staff have a privacy interest in

        which shifts they worked, which days they were on sick leave, and which days they were

        on annual leave.

  96.   The BOP determined that there was no public interest in the release of the names of staff

        working on certain days, nor any interest which would counterbalance the individual’s

        privacy in the information withheld under Exemption 7(C).

  97.   The Bureau of Prisons determined the identities of individuals contained within the Daily

        Assignment Rosters should be withheld from the requestor.

  98.   In addition, exemption (b)(7)(C) was applied to redact the names and register numbers of

        other inmates and their personal information, such as movement to various areas of the

        institution and their medical status, as noted within the log book pages. This information

        about individual inmates was determined private, the release of which would not serve

        the public interest.

  99.   For the same reasons, exemption (b)(7)(C) was applied to redact other inmates’ names

        and register numbers, as well as the housing unit status of another inmate, from an

        internal memo written regarding one of the administrative tort claims. This memo was

        written by a Senior Officer as part of the officer’s law enforcement duties and release of

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                                    VAUGHN INDEX
                         JORDAN v. DEPARTMENT OF JUSTICE
                            CIVIL ACTION NO. 07-CV-2303

FOIA Request # 07-4419

 DOC    PAGES     DOCUMENT                        EXEMPT/   JUSTIFICATION
 #                DESCRIPTION                     STATUS
 1      3         DHO Report                      (b)7(C)   This document was partially
                                                            redacted.

                                                            (b)(7)(C) was applied to
                                                            redact other inmates’ names
                                                            and register numbers. This
                                                            Report was compiled as part
                                                            of the staff member’s law
                                                            enforcement duties and
                                                            release of these other inmates’
                                                            names and non-public
                                                            information would constitute
                                                            an unwarranted invasion of
                                                            privacy.
 2      5         Memo from the plaintiff         (b)7(C)   This document was partially
                  indicating proposed witnesses   (b)7(F)   redacted.

                                                            (b)(7)(C) was applied to
                                                            redact other inmates’ names
                                                            and register numbers. Release
                                                            of these other inmates’ names
                                                            and identifying information
                                                            would constitute an
                                                            unwarranted invasion of
                                                            privacy.
                                                            7(F) was applied to redact the
                                                            names of two security threat
                                                            groups (“gangs”).
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 3      1       Memo from staff member            (b)7(C)     This document was partially
                outlining the list of proposed                redacted.
                witnesses
                                                              (b)(7)(C) was applied to
                                                              redact other inmates’ names
                                                              and register numbers. Release
                                                              of these other inmates’ names
                                                              and identifying information
                                                              would constitute an
                                                              unwarranted invasion of
                                                              privacy.


 4      1       Statement of an inmate witness    (b)7(C)     (b)(7)(C) was applied to
                                                              redact this other inmate’s
                                                              name, register number, and
                                                              statement regarding the
                                                              murder. Release of this
                                                              information would constitute
                                                              an unwarranted invasion of
                                                              privacy of the individual.
 5      1       Statement of an inmate witness    (b)7(C)     (b)(7)(C) was applied to
                                                              redact this other inmate’s
                                                              name, register number, and
                                                              statement regarding the
                                                              murder. Release of this
                                                              information would constitute
                                                              an unwarranted invasion of
                                                              privacy of the individual.
 6      1       Three still frames taken from a   (b)(7)(E)   (b)(7)(E) was applied because
                video surveillance camera                     the video cameras are
                                                              installed for law enforcement
                                                              purposes and by providing the
                                                              inmate/requestor with the
                                                              images, he could determine
                                                              the areas in which the cameras
                                                              do not view, and thereby
                                                              circumvent the agency’s
                                                              monitoring intended to ensure
                                                              the safe and orderly operation
                                                              of the institution.
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FOIA Request # 06-6431
 DOC    PAGES     DOCUMENT                           EXEMPT/        JUSTIFICATION
 #                DESCRIPTION                        STATUS
 1      6         Staff Roster showing names         (b)7(F)        (b)7(F) applied because this roster
                  and titles of every staff member                  is compiled to assist the BOP in
                  employed at ADX Florence                          fulfilling its law enforcement
                                                                    mission and to release this
                                                                    document would reasonably be
                                                                    expected to harm the life or safety
                                                                    of an individual, in that it would
                                                                    provide the means for an
                                                                    individual to harm or threaten
                                                                    harm to the staff members
                                                                    employed at the Administrative
                                                                    Maximum facility.

FOIA Request #06-1739
DOC #   PAGES     DOCUMENT                           EXEMPT/        JUSTIFICATION
                  DESCRIPTION                        STATUS
1           2     one paragraph within a             (b)(2)(High)   One paragraph which spans the
                  Psychology Data System (PDS)                      bottom of one page and the top of
                  note dated 6-8-2004                               the next was redacted pursuant to
                                                                    (b)(2)(high).

                                                                    (b)(2)(High) is applied as the
                                                                    material within this one paragraph
                                                                    is related solely to the internal
                                                                    personnel rules and practices of
                                                                    the agency and the release of this
                                                                    information would risk the
                                                                    circumvention of a statute or
                                                                    agency regulation. Specifically,
                                                                    this paragraph is staff’s subjective
                                                                    perception of the inmate and
                                                                    advises staff regarding practices
                                                                    when interacting with him.
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FOIA Request #06-6428
 DOC      PAGES      DOCUMENT                           EXEMPT/         JUSTIFICATION
 #                   DESCRIPTION                        STATUS
 1        495        Special Investigative              (b)(2)          These pages comprising the SIS
                     Supervisor (SIS) file containing   (b)(7)(E)       file were withheld in full pursuant
                     selected items of mail sent to                     to (b)(2) and (b)(7)(E).
                     and from inmate Mark Jordan                        (b)(2) was applied because the
                     which were copied by SIS staff                     contents of this SIS file are solely
                                                                        related to the internal agency
                                                                        practices and release of the
                                                                        documents to the inmate/requestor
                                                                        would allow him to circumvent
                                                                        our internal policies.
                                                                        (b)(7)(E) was applied because the
                                                                        examination and copying of
                                                                        certain mail items is done for law
                                                                        enforcement purposes and by
                                                                        providing the inmate/requestor
                                                                        with the copied items, he could
                                                                        determine the law enforcement
                                                                        techniques and procedures, and
                                                                        thereby circumvent the agency’s
                                                                        monitoring intended to ensure the
                                                                        safe and orderly operation of the
                                                                        institution, as well as to protect the
                                                                        public.




FOIA Request # 07-2578
 DOC      PAGES      DOCUMENT                           EXEMPT/         JUSTIFICATION
 #                   DESCRIPTION                        STATUS



Nothing withheld. Requestor sought audio tapes which were no longer available pursuant to normal
retention policies. Subsequently, BOP issued a supplemental response to the requestor which was a one
page full release of the transactional data printout.
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FOIA Request # 06-0513
 DOC    PAGES     DOCUMENT                 EXEMPT/        JUSTIFICATION
 #                DESCRIPTION              STATUS
 1       2        These are two Daily      (b)(7)(C)      These pages were partially
                  Assignment Rosters.      (b)(2)(High)   redacted to omit the title of
                                           (b)(7)(F)      various staff posts and the shifts
                                                          during which those staff posts are
                                                          staffed.

                                                          (b)(7)(C) was applied because
                                                          staff have a privacy interest in
                                                          which shifts they worked, which
                                                          days they were on sick leave, and
                                                          which days they were on annual
                                                          leave. This is not public
                                                          information.
                                                          (b)(2)(High) was applied because
                                                          to allow the public with access to
                                                          the institution’s staffing patterns
                                                          (which posts are filled on which
                                                          days and times) could impede the
                                                          effectiveness of the agency to
                                                          fulfill its mission to securely house
                                                          offenders. Disclosure of staffing
                                                          patterns may assist in escape
                                                          efforts, facilitating disturbances, or
                                                          harming staff.
                                                          (b)(7)(F) was applied because
                                                          these staffing rosters are compiled
                                                          to aid the agency in fulfillment of
                                                          its law enforcement mission, and
                                                          disclosure would reasonably be
                                                          expected to endanger the life or
                                                          physical safety of staff or inmates
                                                          within the institution by
                                                          compromising the security of the
                                                          institution.
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 2      2       This is a memo from the          (b)(5)   This document was partially
                institution’s Supervisory                 redacted.
                Attorney to an Associate
                Warden at the institution                 (b)(5) was applied to omit the
                requesting assistance in                  paragraph which outlines which
                investigating the plaintiff’s             specific items the attorney
                administrative tort claim.                requested to aid in her analysis of
                                                          the tort claim. This information is
                                                          protected because it reflects the
                                                          attorney’s opinion about which
                                                          items are important in analyzing
                                                          the claim.


 3      3       Memo from BOP Paralegal          (b)(5)   This document was partially
                analyzing the property receipt            redacted.
                records involved in the
                administrative tort claim at              (b)(5) was applied to omit one
                issue                                     sentence containing the paralegal’s
                                                          subjective opinion of the facts
                                                          developed during the investigation
                                                          of the tort claim.

                                                          (b)(5) was applied to omit the
                                                          paralegal’s three paragraph
                                                          conclusion as to whether or not
                                                          evidence of staff negligence could
                                                          be seen in the facts developed
                                                          during the investigation of the tort
                                                          claim.

                                                          (b)(5) was applied to omit the
                                                          paralegal’s analysis and
                                                          recommendation as to how
                                                          management should proceed on
                                                          the administrative tort claim.
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 4      1       Memorandum for BOP’s North          (b)(5)   This document was partially
                Central Regional Counsel from                redacted.
                the institution Supervisory
                Attorney, including her analysis             (b)(5) was applied to omit a two
                of the tort claim investigation              sentence recommendation from
                                                             the attorney indicating her
                                                             thoughts on whether or not to offer
                                                             a settlement in response to the
                                                             administrative tort claim.



 5      1       Memorandum from a Legal             (b)(5)   This document was partially
                Intern to the Assistant Regional             redacted.
                Counsel evaluating the
                investigation and resulting facts            (b)(5) was applied to redact
                found, as well as providing a                several sentences containing the
                recommendation as to whether                 subjective opinion of the legal
                or not to settle the                         intern informing the Assistant
                administrative tort claim                    Regional Counsel of her analysis
                                                             of the merits and weaknesses of
                                                             the tort claim. In addition, a
                                                             sentence containing her
                                                             recommendation to the Assistant
                                                             Regional Counsel regarding how
                                                             to proceed on the tort claim (settle
                                                             or deny) was redacted.
 6      2       Memorandum from BOP                 (b)(5)   This document was partially
                Paralegal setting forth the facts            redacted.
                and evaluating another
                administrative tort claim filed              (b)(5) was applied to redact the
                by the plaintiff                             paralegal’s opinion regarding staff
                                                             actions, as well as the final section
                                                             of the memo wherein she states
                                                             her conclusion regarding how to
                                                             proceed on the administrative tort
                                                             claim.
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 7      3       Three one-page Lieutenant’s        (b)(2)(High)   These pages were paritally
                Logs which include inmate          (b)(7)(C)      redacted.
                counts, times of security          (b)(2)(Low)
                checks, types of security checks                  (b)(2)(High) was applied to redact
                conducted, and personal                           the types of security checks
                medical information about                         conducted at various points
                inmates other than the plaintiff                  throughout the day. These are
                                                                  internal BOP procedures
                                                                  undertaken by BOP staff to ensure
                                                                  the safety and security of staff,
                                                                  inmates, and the public.
                                                                  Disclosure of information about
                                                                  these security measures to the
                                                                  public, including this inmate-
                                                                  requestor, risks circumvention of
                                                                  the security procedures.
                                                                  Disclosure of the types of tests
                                                                  conducted and at what times of
                                                                  day they are conducted would
                                                                  provide a greater ability to
                                                                  circumvent those security
                                                                  measures.

                                                                  (b)(7)(C) was applied to redact the
                                                                  names and register numbers of
                                                                  other inmates and their personal
                                                                  information, such as movement to
                                                                  various areas of the institution and
                                                                  their medical status, as noted
                                                                  within the log.

                                                                  (b)(2)(Low) was applied to redact
                                                                  the numbers listed for each inmate
                                                                  base count taken in each of the
                                                                  various housing units. Release of
                                                                  the specific number of inmates in
                                                                  each housing unit may
                                                                  compromise security. The inmate
                                                                  counts within each housing unit
                                                                  are related solely to the internal
                                                                  practices of the agency, release of
                                                                  which would have no significant
                                                                  public benefit.
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 8      4       Log book pages showing when       (b)(2)(High)   These pages were partially
                “shakedowns” (searches of         (b)(7)(C)      redacted.
                living areas) were conducted      (b)(2)(Low)
                and on which inmates, as well     (b)(7)(F)      (b)(2)(High) was applied to redact
                as what items were confiscated                   the locations of area searches at
                from those other individuals.                    various dates and times.
                Log book pages also show                         Disclosure of this information
                which areas were searched and                    would allow for the ability to
                at what times. Log book pages                    circumvent the search procedures
                include the count of inmates on                  by providing the schedule and
                the housing unit, security                       order in which these searches are
                mechanisms which were tested                     undertaken. Disclosure of this
                and when they were tested, as                    information would allow a person
                well as personal information                     to conceal contraband if he or she
                about inmates other than the                     knew the dates and times various
                plaintiff.                                       areas were searched by staff.
                                                                 (b)(7)(C) was applied to redact the
                                                                 names and register numbers of
                                                                 inmates and the contraband staff
                                                                 discovered in their living areas.
                                                                 These logs are compiled for law
                                                                 enforcement purposes and release
                                                                 of these names and the contraband
                                                                 found in their possession would
                                                                 constitute an unwarranted invasion
                                                                 of privacy.
                                                                 (b)(2)(Low) was applied to redact
                                                                 the numbers listed for each inmate
                                                                 base count taken in each of the
                                                                 various housing units. The inmate
                                                                 counts are related solely to the
                                                                 internal practices of the agency,
                                                                 release of which would have no
                                                                 significant public benefit.
                                                                 (b)(7)(F) was applied to redact the
                                                                 names of two inmates who were
                                                                 released from the housing unit for
                                                                 urinalysis. Disclosure of this
                                                                 information to other inmates may
                                                                 risk the safety of inmates
                                                                 involved, as it is impossible to
                                                                 ascertain from the document if this
                                                                 was part of a larger investigation.
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 9      1       Memo from Senior Officer to        (b)(7)(C)   This document was partially
                BOP Paralegal regarding one of                 redacted.
                the plaintiff’s tort claims.
                Redacted information is the                    (b)(7)(C) was applied to redact
                name and register number of an                 other inmates’ names and register
                inmate other than the plaintiff.               numbers, as well as the housing
                                                               unit status of an inmate other than
                                                               the plaintiff. This memo was
                                                               compiled as part of the officer’s
                                                               law enforcement duties and
                                                               release of these other inmates’
                                                               names and non-public information
                                                               would constitute an unwarranted
                                                               invasion of privacy.
 10     1       Memo from BOP Lieutenant to        (b)(5)      This document was partially
                institution Supervisory                        redacted.
                Attorney.
                                                               (b)(5) was applied to redact a one
                                                               sentence which is the lieutenant’s
                                                               opinion expressed to the attorney
                                                               regarding recommended action to
                                                               be taken on the claim.
 11     1       Memorandum from BOP                (b)(5)      This document was partially
                Lieutenant to institution                      redacted.
                Supervisory Attorney regarding
                an administrative tort claim.                  (b)(5) applied to redact a one
                                                               sentence recommendation to the
                                                               attorney regarding action to be
                                                               taken on the claim.
